Case 4:20-cv-00561-CVE-SH Document 41 Filed in USDC ND/OK on 06/07/21 Page 1 of 11




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

  MISTY BAILEY,                                      )
                                                     )
         Plaintiff,                                  )
                                                     )
  v.                                                 )
                                                     )
  SHERIFF OF OTTAWA COUNTY,                          )      Case No. 20-cv-00561-CVE-SH
  OKLAHOMA, in his official capacity;                )
  TURN KEY HEALTH CLINICS, LLC;                      )      This Protective Order in no way
  SUSAN BLALOCK, L.P.N.; and                         )      diminishes counsel’s obligation
  JOSEPHINE OTOO, A.P.R.N.,                          )      to comply with LCvR5.2.
                                                     )
         Defendants.                                 )

                                 AGREED PROTECTIVE ORDER

         The parties have informed the Court that certain documents and information have been and

  may be sought, produced or exhibited by and between the parties in this proceeding (the

  “Proceeding”) and that some of these documents and information relate to the parties’ and non-

  parties’ medical health, mental/emotional health, internal personnel files and matters, jail video,

  internal investigations, OSBI Reports of Investigations, jail photographs/diagrams, and policies

  and procedures of the Sheriff’s Office and/or Jail, and other documents created by a governmental

  entity which may not be defined as an open record under the Oklahoma Open Record Act, which

  the party making the production deems confidential.1 It has been agreed by the parties to the

  Proceeding, through their respective counsel, that to expedite the flow of discovery material and

  to preserve the confidentiality of certain documents and information, a protective order should be

  entered by the Court. The Court has reviewed the terms and conditions of this Protective Order



  1
   Plaintiff does not concede that any of these categories of materials are “confidential” under Rule
  26(c). Rather, Plaintiff is joining in this Protective Order to facilitate the free flow of discovery.
  Plaintiff reserves her right to challenge any and all confidentiality designations as contemplated
  herein.
Case 4:20-cv-00561-CVE-SH Document 41 Filed in USDC ND/OK on 06/07/21 Page 2 of 11




  and the Motion for Protective Order (ECF No. 40) is granted. Based on the parties’ submissions,

  it is hereby ORDERED that:

  1.     Scope

         a.      This Order shall govern all documents, the information contained therein, and all

  other information produced or disclosed during the Proceeding whether revealed in a document,

  deposition, other testimony, discovery response or otherwise, by any party, including any non-

  party, in this Proceeding (the “Supplying Party”) to any other party, including any non-party, (the

  “Receiving Party”), when same is designated with the procedures set forth herein. This Order is

  binding upon the parties to the Proceeding, including their respective corporate parents,

  subsidiaries, and affiliates as well as their respective attorneys, agents, representatives, officers,

  and employees and others as set forth in this Order. This Order is also binding on and applies to

  all non-parties who either produce or receive documents or information in connection with this

  Proceeding.

         b.     Under this Order, any Supplying Party shall have the right to identify and designate

  as “Confidential” any document or other information it produces or provides, or any testimony

  given in this Proceeding, which testimony or discovery material is believed in good faith by that

  Supplying Party, and by the Supplying Party’s counsel, to constitute, reflect or disclose trade secret

  or other confidential research, development, or commercial information contemplated under Rule

  26(c) of the Federal Rules of Civil Procedure, specifically including but not limited to the parties’

  and non-parties’ medical health, mental/emotional health, internal personnel files and matters, jail

  video, internal investigations, and policies and procedures of the Sheriff’s Office, Turn Key Health

  Clinics, LLC, and/or Jail, and other documents created by a governmental entity which may not

  be defined as an open record under the Oklahoma Open Record Act (“Designated Material”).




                                                    2
Case 4:20-cv-00561-CVE-SH Document 41 Filed in USDC ND/OK on 06/07/21 Page 3 of 11




         c.    “Confidential Information” as used herein means any Designated Material that is

  designated pursuant to this Protective Order as “Confidential” by the Supplying Party, whether it

  is a document, information contained in a document, information revealed during a deposition or

  other testimony, information revealed in an interrogatory answer or information otherwise

  revealed.

         d.    A party may designate as “Confidential” information in the possession of and

  supplied by a non-party if the information was transmitted to the non-party under an agreement or

  an obligation that it would remain confidential and the information otherwise complies with

  Paragraph 1(c).

         e.     Subject to paragraph 10(c), all documents and other materials produced in this

  litigation shall be used only for purposes of this litigation whether or not a Supplying Party

  designates such documents or materials as “Confidential.”

  2.     Designation of Confidentiality

         Documents or information may be designated CONFIDENTIAL within the meaning of

  this Order in the following ways:

         a.    Specific documents produced by a Supplying Party shall, if appropriate, be

  designated as “Confidential” by marking the first page of the document and each subsequent page

  thereof containing Confidential Information with the legend:            “CONFIDENTIAL” or

  “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER.”

         b.    In the case of interrogatory answers and responses to requests for admissions, if

  appropriate, designation of Confidential Information shall be made by means of a statement in the

  answers or responses specifying that the answers or responses or specific parts thereof are

  designated “CONFIDENTIAL.”          The following legend shall be placed on each page of




                                                 3
Case 4:20-cv-00561-CVE-SH Document 41 Filed in USDC ND/OK on 06/07/21 Page 4 of 11




  interrogatory answers or responses to requests for admission containing Confidential Information:

  “CONTAINS CONFIDENTIAL INFORMATION.”

          c.    In the case of depositions and the information contained in depositions (including

  exhibits), designation of the portions of the transcript (including exhibits) which contain

  Confidential Information shall be made by a statement to such effect on the record in the course

  of the deposition by counsel for the party or witness producing such information, or by letter from

  such counsel within thirty (30) days of receipt of the deposition transcript or copy thereof (or

  written notification that the transcript is available).

          d.    To the extent that matter stored or recorded in the form of electronic or magnetic

  media (including information, files, databases, or programs stored on any digital or analog

  machine-readable device, computers, discs, networks or tapes) (“Computerized Material”) is

  produced by any party in such form, the Supplying Party may designate such matter as

  “CONFIDENTIAL” by cover letter referring generally to such matter or by affixing to such media

  a label with the legend provided for in paragraph 2(a) above. Whenever any party to whom

  Computerized Material designated as “CONFIDENTIAL” is produced reduces such material to

  hard-copy form, such party shall mark such hard-copy form with the legend provided for in

  paragraph 2(a) above.

          e.    To the extent that any party or counsel for any party creates, develops or otherwise

  establishes on any digital or analog machine-readable device, recording media, computer, disc,

  network, tape, file, database or program information designated CONFIDENTIAL, that party

  and/or its counsel must take all necessary steps to ensure that access to such media is properly

  restricted to those persons who, by the terms of this Order, may have access to Confidential




                                                      4
Case 4:20-cv-00561-CVE-SH Document 41 Filed in USDC ND/OK on 06/07/21 Page 5 of 11




  Information, and will affix to any media containing such information a label with the legend

  provided for in paragraph 2(a) above.

         f.    The filing of any documents and materials with the Court containing or reflecting the

  contents of Confidential Information shall be governed by LCvR 5.2-2. NO SEALED FILINGS

  SHALL BE MADE PRIOR TO: (1) THE FILING OF A MOTION PURSUANT TO LCvR 5.2-

  2, AND (2) AN ORDER GRANTING SUCH MOTION. The LCvR 5.2-2 motion shall be filed

  at least two full business days prior to the date on which the proposed sealed filing is to be made.

  If the LCvR 5.2-2 motion is granted, and to the extent not inconsistent with rule 5.2-2, such

  documents and materials shall be labeled “CONFIDENTIAL INFORMATION – SUBJECT TO

  COURT ORDER” and shall also bear the legend “FILED UNDER SEAL” on the cover page of

  the document. Only those portions of such documents and materials containing or reflecting

  Confidential Information shall be considered Confidential and may be disclosed only in

  accordance with this Order. Each party shall use its best efforts to minimize filings that necessitate

  the filing of documents and materials designated Confidential under seal. No party or other person

  may have access to any sealed document from the files of the Court without an order of the Court.

  This provision does not relieve the filing party of serving the document on other parties in

  accordance with ordinary procedures established by the civil and local rules or Court order.

  Regardless of any provision in this Order to the contrary, a party does not have to file a document

  under seal if the Confidential Information contained or reflected in the document was so designated

  solely by that party.

         g.    Documents filed under seal may be unsealed at the Court’s discretion.

  3.     Use of Confidential Information

         Subject to Paragraph 11(c), Confidential Information shall not be used by any person, other




                                                    5
Case 4:20-cv-00561-CVE-SH Document 41 Filed in USDC ND/OK on 06/07/21 Page 6 of 11




  than the Supplying Party, for any purpose other than conducting this Proceeding, Misty Bailey v.

  Sheriff of Ottawa County, et al., No. 20-cv-00561-CVE-SH, which case is pending in the United

  States District Court for the Northern District of Oklahoma, and in no event shall such information

  be used for any business, competitive, personal, private, public or other purpose.

  4.     Disclosure of Confidential Information

         a.      The attorneys of record are responsible for employing reasonable measures,

  consistent with this Order, to control access to, and distribution of information designated

  “CONFIDENTIAL” pursuant to this Order.

         b.    Subject to Paragraph 6 below, access to information designated “CONFIDENTIAL”

  pursuant to this Order shall be limited to the following persons:

                 i.      The parties, including outside and in-house counsel for the parties, as well

                         as members and employees of their firms including but not limited to their

                         paralegals, investigative, secretarial and clerical personnel who are

                         employed by and engaged in assisting such counsel in this Proceeding.

                 ii.     Outside photocopying, data processing or graphic production services

                         employed by the parties or their counsel to assist in this Proceeding.

                 iii.    Any outside expert or consultant (or any employee of such outside expert

                         or consultant) who is retained, or sought to be retained, by counsel for a

                         party in this Proceeding, for purposes of consulting, and/or testifying in

                         this Proceeding, and to whom counsel in good faith has deemed disclosure

                         of such “CONFIDENTIAL” material is reasonably necessary in order to

                         assist in the preparation or the conduct of this Proceeding. This paragraph

                         shall not relieve, change or otherwise affect any obligations or limitations




                                                   6
Case 4:20-cv-00561-CVE-SH Document 41 Filed in USDC ND/OK on 06/07/21 Page 7 of 11




                     imposed on any person by contract or law regarding the disclosure or use

                     of trade secrets or other confidential or proprietary information.

              iv.    Five (and no more than five) directors, officers, employees or other

                     representatives of a party or its corporate parent whose review of the

                     specific Confidential Information is reasonably necessary to assist in the

                     prosecution or defense of this Proceeding.         However, a party that

                     originally designated information as “CONFIDENTIAL” may reveal such

                     information to any of its own directors, officers, employees or other

                     representatives.

              v.     Any fact witness, at the witness’ deposition in this Proceeding, but only if

                     counsel who discloses “CONFIDENTIAL” information to the witness

                     determines, in good faith, that such disclosure is reasonably necessary and

                     appropriate to assist in the conduct of this Proceeding.

              vi.    Any person (a) who was involved in the preparation of the document or

                     other tangible medium containing the Confidential Information and/or

                     who is shown on the face of “CONFIDENTIAL” material to have

                     authored or received the “CONFIDENTIAL” material sought to be

                     disclosed to that person, or (b) who is specifically referenced by name and

                     substantively discussed in the “CONFIDENTIAL” material, but only as

                     to the specific material the person authored or received, or in which such

                     person is referenced and discussed.

              vii.   This Court or any other Court exercising jurisdiction with respect to this

                     litigation, Court personnel, jurors, and qualified persons (including




                                               7
Case 4:20-cv-00561-CVE-SH Document 41 Filed in USDC ND/OK on 06/07/21 Page 8 of 11




                         necessary clerical personnel) recording, taking or transcribing testimony

                         or argument at any deposition, hearing, trial or appeal in this litigation;

                 viii.   Any other person to whom the Supplying Party agrees in writing or on the

                         record in advance of the disclosure, provided that the party seeking to

                         make the disclosure must first submit a request, in writing or on the record,

                         to the Supplying Party explaining why the disclosure is necessary. If the

                         Supplying Party does not agree to allow the disclosure, the party seeking

                         to make the disclosure may file a motion with the Court for approval to

                         make the disclosure; and

                 vix.    The parties’ claims’ representative or other such person who is responsible

                         for making or participating in making decisions regarding settlement.

  5.     Notification of Protective Order

         Confidential Information shall not be disclosed to a person described in paragraphs

  4(b)(iii), 4(b)(iv), 4(b)(v), 4(b)(viii) unless and until such person has been advised of the substance

  of this Protective Order. This prohibition includes either direct or indirect disclosure, including

  but not limited to, any disclosure by counsel or experts. At any deposition and absent the agreement

  of the parties, prior to the disclosure of any Confidential Information and/or Highly Confidential

  Information, the deponent shall be advised of the substance of this Protective Order.

  6.     Use of Confidential Information at Trial

         The rules and procedures governing the use of Confidential Information at trial shall be

  determined by the Court at the final pretrial conference.

  7.     Objections to Designations

         a.      A party may, at any time, make a good faith challenge to the propriety of a



                                                    8
Case 4:20-cv-00561-CVE-SH Document 41 Filed in USDC ND/OK on 06/07/21 Page 9 of 11




  Confidential Information designation. In the event a party objects to the designation of any

  material under this Order, the objecting party shall consult with the designating party to attempt

  to resolve their differences. If the parties are unable to reach an accord as to the proper

  designation of the material, after giving notice to the designating party, the objecting party may

  apply to the Court for a ruling that the material shall not be so designated. If such a motion is

  made, the designating party has the burden of establishing that the designation is proper. If no

  such motion is made, the material will retain its designation. Any documents or other materials

  that have been designated “CONFIDENTIAL” shall be treated as Confidential until such time as

  the Court rules that such materials should not be treated as Confidential.

  8.      Preservation of Rights and Privileges

          Nothing contained in this Order shall affect the right, if any, of any party or witness to

  make any other type of objection, claim, or other response to discovery requests, including,

  without limitation, interrogatories, requests for admissions, requests for production of documents

  or questions at a deposition. Nor shall this Order be construed as a waiver by any party of any

  legally cognizable privilege to withhold any Confidential Information other than on the basis that

  it has been designated Confidential, or of any right which any party may have to assert such

  privilege at any stage of this litigation.

  9.      Inadvertent or Unintentional Disclosure

          A Supplying Party that inadvertently fails to designate discovery material as

  “Confidential” or mis-designates discovery material as “Confidential” or pursuant to this Order

  at the time of its production shall be entitled to make a correction to its designation within a

  reasonable time of the discovery of the non- or mis-designation. Such correction and notice

  thereof shall be made in writing, accompanied by substitute copies of each item of discovery




                                                   9
Case 4:20-cv-00561-CVE-SH Document 41 Filed in USDC ND/OK on 06/07/21 Page 10 of 11




   material, appropriately designated. Those individuals who received the discovery material prior

   to notice of non- or mis-designation by the Supplying Party shall within five (5) days of receipt

   of the substitute copies, take reasonable steps to destroy or return to the law firm representing the

   Supplying Party all copies of such mis-designated documents. The obligation to treat such

   material pursuant to the corrected designation shall be prospective only, and those individuals

   who reviewed the mis-designated discovery material prior to notice of the mis-designation by the

   Supplying Party shall abide by the provisions of this Order with respect to all future use and

   disclosure of any information contained in the mis-designated materials.

   10.    Other Provisions

          a.      The restrictions set forth in this Order shall not apply to documents or information

   designated Confidential that are publicly available or that are obtained independently and under

   rightful means by the Receiving Party, unless they became so due to a violation of this Order.

          b.      A party’s compliance with the terms of this Order shall not operate as an

   admission that any particular document is or is not (a) confidential, (b) privileged or (c)

   admissible in evidence at trial.

          c.      Any party or person in possession of Confidential Information who receives a

   subpoena (or other process) from any person (including natural persons, corporations,

   partnerships, firms, governmental agencies, departments or bodies, boards or associations) who

   is not a party to this Order, which subpoena seeks production or other disclosure of such

   Confidential Information shall immediately give written notice by electronic mail to counsel for

   the other party or person who produced the materials designated as Confidential. The written

   notice shall identify the materials sought and enclose a copy of the subpoena or other process,

   unless ordered otherwise by a court of competent jurisdiction. Nothing herein shall be construed




                                                    10
Case 4:20-cv-00561-CVE-SH Document 41 Filed in USDC ND/OK on 06/07/21 Page 11 of 11




   to obligate the person subject to service or other process to make a motion or undertake other

   legal process, or to appear before any court or administrative body in opposition to a motion or

   other legal process seeking production of any Confidential materials, provided such person

   invokes, to the extent reasonably possible, the highest level of confidentiality available under

   applicable law, rule, regulation, court order, or other compulsory process, at the time of

   disclosure of such Confidential materials.

           d.      This Order shall apply to non-parties who provide discovery, by deposition,

   production of documents or otherwise, in this litigation, if said non-party requests, in writing, the

   protection of this Order as to said non-party’s Confidential Information and complies with the

   provisions of this Order.

           e.      Upon the final resolution of this litigation (including conclusion of any appeal),

   this Order shall remain in effect and continue to be binding, unless expressly modified,

   superseded, or terminated by consent of all parties or by Order of the Court. This Court expressly

   retains jurisdiction over this action for enforcement of the provisions of this Order following the

   final resolution of this litigation.

           f.      This Order shall not prevent a party from applying to the Court for relief

   therefrom, or from applying to the Court for further or additional protective orders, or from

   agreeing to modifications of this Order, subject to the approval of the Court.

           g.      The Court may amend, modify or dissolve this Protective Order at any time.

           IT IS SO ORDERED this 7th day of June, 2021.




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                                                     SUSAN E. HUNTSMAN,
                                                              HUN
                                                                NTSMAN
                                                                 TS   N, MAGISTRATE
                                                                         MAGIST
                                                                         MA  STRATE JUDGE
                                                     UNITED STATES DISTRICT COURT



                                                    11
